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 3
                         UNITED STATES DISTRICT COURT
 4
                       NORTHERN DISTRICT OF CALIFORNIA
 5
                                OAKLAND DIVISION
 6

 7
     IN RE CALIFORNIA BAIL BOND             Master Docket No. 19-cv-00717-JST-DMR
 8
     ANTITRUST LITIGATION                   CLASS ACTION
 9
                                            STIPULATION AND [PROPOSED]
10                                          ORDER RE: EXTENSION TO FILE
     THIS DOCUMENT RELATES TO:              THIRD CONSOLIDATED AMENDED
11                                          COMPLAINT
     ALL ACTIONS
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                                               STIPULATION AND [PROPOSED] ORDER RE: EXTENSION
                                               TO FILE THIRD CONSOLIDATED AMENDED COMPLAINT
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 1           Pursuant to Civil Local Rule 6-2, all Plaintiffs and Defendants (the “Parties”) in the

 2   above-entitled action stipulate as follows:

 3           WHEREAS, the Court ordered the Parties to proceed with discovery on December 10,

 4   2020, with Dismissed Defendants1 to submit pre-amendment discovery focused on deficiencies

 5   the Court identified in Plaintiffs’ Second Amended Complaint (ECF No. 151);

 6           WHEREAS, the Court referred the management of discovery in this case, “including the

 7   issues set forth in the [P]arties’ joint case management statement, ECF No. 173,” to Magistrate

 8   Judge Ryu on January 25, 2021 (ECF No. 175);

 9           WHEREAS, the deadline for Plaintiffs to file their Third Consolidated Amended

10   Complaint (“TCAC”) is October 11, 2021 (ECF No. 199);

11           WHEREAS, on August 12, 2021, Plaintiffs and Dismissed Defendants submitted to

12   Judge Ryu a dispute regarding the proper geographic scope of pre-amendment discovery based on

13   certain search terms and custodians (ECF No. 208);

14           WHEREAS, on September 30, 2021, Judge Ryu set a deadline of November 29, 2021 for

15   Dismissed Defendants to produce all responsive documents regardless of geography, except

16   documents that pertain solely to individual bail bond transactions outside California (ECF No.

17   230);

18           WHEREAS, the Parties have agreed to extend the deadline for Plaintiffs to file their

19   TCAC by an additional 40 days beyond the November 29, 2021 deadline without prejudice to any

20   Party seeking a further extension;

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23     For the avoidance of doubt, the Dismissed Defendants are Allegheny Casualty Company,
     International Fidelity Insurance Company, AIA Holdings, Inc., American Contractors Indemnity
24   Company, Bankers Insurance Company, Accredited Surety and Casualty Company, Inc.,
     Lexington National Insurance Company, Seneca Insurance Company, Continental Heritage
25   Insurance Company, Seaview Insurance Company, Danielson National Insurance Company,
     Financial Casualty & Surety, Inc., Indiana Lumbermens Mutual Insurance Company, Lexon
26   Insurance Company, North River Insurance Company, Philadelphia Reinsurance Corporation,
     Sun Surety Insurance Company, United States Fire Insurance Company, Universal Fire &
27   Casualty Company, Williamsburg National Insurance Company, California Bail Agents
     Association, Golden State Bail Agents Association, American Bail Coalition, Inc., Two Jinn, Inc.,
28   All-Pro Bail Bonds Inc., and Jerry Watson.
                                                           STIPULATION AND [PROPOSED] ORDER RE: EXTENSION
                                                   -1-     TO FILE THIRD CONSOLIDATED AMENDED COMPLAINT
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 1          WHEREAS, the Court has set no further deadlines in this matter, and therefore none

 2   would be affected;

 3          NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and

 4   between the Parties that Plaintiffs shall have until January 10, 2022 to file their TCAC without

 5   prejudice to any Party seeking to further extend that deadline.

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                                                             STIPULATION AND [PROPOSED] ORDER RE: EXTENSION
                                                     -2-     TO FILE THIRD CONSOLIDATED AMENDED COMPLAINT
                                                                        MASTER DOCKET NO. 19-CV-00717-JST-DMR
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                                                 STIPULATION AND [PROPOSED] ORDER RE: EXTENSION
                                         -3-     TO FILE THIRD CONSOLIDATED AMENDED COMPLAINT
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                                                STIPULATION AND [PROPOSED] ORDER RE: EXTENSION
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                                                STIPULATION AND [PROPOSED] ORDER RE: EXTENSION
                                        -5-     TO FILE THIRD CONSOLIDATED AMENDED COMPLAINT
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25                                      National Insurance Corporation, and
                                        Jerry Watson
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                                                STIPULATION AND [PROPOSED] ORDER RE: EXTENSION
                                        -6-     TO FILE THIRD CONSOLIDATED AMENDED COMPLAINT
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                                                STIPULATION AND [PROPOSED] ORDER RE: EXTENSION
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 1                                    [PROPOSED] ORDER

 2

 3   PURSUANT TO STIPULATION, IT IS SO ORDERED that Plaintiffs shall have until January

 4   10, 2022 to file their TCAC without prejudice to any Party seeking to further extend that

 5   deadline.

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 7
     Dated: October __, 2021
 8                                                THE HONORABLE JON S. TIGAR
                                                  UNITED STATES DISTRICT JUDGE
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                                                       STIPULATION AND [PROPOSED] ORDER RE: EXTENSION
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 1                     ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

 2               I, Adam Gitlin, attest that the concurrence in the filing of this document has been obtained

 3   from the other signatories. Executed on October 7, 2021, in Oakland, California.

 4                                                     /s/ Adam Gitlin
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